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1
2
3
4
5
6
                            IN THE UNITED STATES DISTRICT COURT
7
                                FOR THE DISTRICT OF COLUMBIA
8
9
10
     EVNA T. LAVELLE and LAVENIA
11   LAVELLE, individually and as the                     Civil Action File
     representative of all persons similarly situated     No. 1:16-cv-01082-RBW
12   and in a representative capacity on behalf of the
13   interests of the general public,                    (Removed from the Superior Court of the
                                                         District of Columbia, Civil Actions, Case
14                          Plaintiffs,
                                                         No. 2016 CA 003040 B)
15
            v.
16
     STATE FARM MUTUAL AUTOMOBILE                        REQUEST FOR ORAL ARGUMENT
17   INSURANCE COMPANY,
18                 Defendant.
19
20
                     MOTION FOR CLASS CERTIFICATION AND
21          STATEMENT OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
22
            Evna T. Lavelle and Lavenia Lavelle, Plaintiffs, individually and as the representatives
23
24   of all persons similarly situated and on behalf of the general public, seek a class recovery for the
25
     failure of Defendant State Farm Mutual Automobile Insurance Company (“State Farm”) to pay
26
27
     diminished value (“DV”) loss on claims paid by State Farm under their Uninsured and

28   Underinsured Motorist Property Damage coverage (“UIM PD”) during the Class Period.
29
30                                 I. MOTION/RELIEF REQUESTED
31
            Plaintiffs move the Court for an order certifying the following class in the within action:
32


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1           All insureds of Defendant State Farm with District of Columbia policies issued in
2           the District of Columbia, where the insured’s vehicle damages were covered under
            their UIM PD coverage, and
3
4                   1. the repair estimates on the vehicle (including any supplements) totaled
                       at least $1,000;
5
6                   2. the vehicle was no more than six years old (model year plus five years)
7
                       and had less than 90,000 miles on it at the time of the accident; and

8                   3. the vehicle suffered structural (frame) damage and/or deformed sheet
9                      metal and/or required body or paint work.
10
            Excluded from the Class are a) claims involving leased vehicles or total losses, and
11          b) claims of the assigned judge, the judge’s staff and family.
12
     See Original Class Action Complaint for Damages ¶22 [Dkt.1-1] (“Complaint”). Given the
13
14   applicable statute of limitations, see D.C. Code Ann. § 12-301(7) (“simple contract, express or
15   implied—3 years”), the proposed class would include claims arising on or after April 22, 2013,
16
     until the Court certifies the matter and the Class is notified.
17
18          Plaintiffs support their motion for class certification by the argument and authorities
19
     presented in this memorandum and by the Declaration of Stephen M. Hansen [Dkt. 36] and the
20
21   evidence it authenticates.1
22
23
24
25    1
         Given that State Farm’s policy regarding DV is consistent nationwide in material respects,
26   State Farm has agreed, see Email from Thomas Curvin to Charles Hunter (Nov. 15, 2017) [Dkt.
     36-1], that Plaintiffs may use testimony and documents obtained in a similar action brought
27   against it in Washington state in Jenkins v. State Farm Mut. Auto Ins. Co., No. 3:15−cv−
28   05508−BHS (W.D. Wash. filed July 23, 2015). To facilitate such use, the parties asked the Court
     to enter a protective order similar to the order in Jenkins. See Order Granting Joint Motion for
29
     Stipulated Protective Order [Dkt. 33].
30     Although State Farm has produced here the same nationwide materials referenced in the Jenkins
31
     depositions, Plaintiffs have used the Jenkins documents for ease of reference, as the Jenkins Rule
     30(b)(6) deposition testimony referenced herein incorporates those documents in pertinent part.
32   Where State Farm has produced documents specific to the District of Columbia or to the Lavelles’
     claim, Plaintiffs use those documents.
     PLAINTIFFS’ MOTION FOR                                            Law Offices of STEPHEN M. HANSEN, P.S.
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1                                          II. INTRODUCTION
2
            Diminished value loss arises in the context of the partial destruction of property. “The
3
4    basic rule for the measure of damages for partial destruction or injury to chattel is the difference
5
     in value of the chattel immediately before and after the injury.” Am. Serv. Ctr. Associates v.
6
7
     Helton, 867 A.2d 235, 240 (D.C. 2005). “An alternative measure is the reasonable cost of

8    repairs necessary to restore its former condition.” Id. The “remaining reduction in value after
9
     repairs are made” is recoverable as “residual diminution in value.” Id. at 241.
10
11          The State Farm automobile insurance policy in force during the Class Period provides
12
     coverage for diminished value losses, as follows, in pertinent part:
13
14          UNINSURED MOTOR VEHICLE COVERAGE
15           Insuring Agreement
16           We will pay compensatory damages for … property damage an insured is
             legally entitled to recover from the owner or driver of an uninsured motor
17           vehicle.
18
            Property Damage means damage to:
19           1. your car….
20
     State Farm Car Policy Booklet [Dkt. 36-2] at 15 (SF(Lavelle)000016). The insuring language for
21
22   underinsured vehicles is the same. Id., at 20.
23
            Although State Farm excludes diminished value loss in its definitions of “loss” in other
24
25
     parts of the policy, it is not excluded from Uninsured Motor Vehicle Coverage. Compare id., at

26   14-20 (Uninsured and Uninsured Coverage; no exclusion or limitation or for DV) with id., at 25
27
     (Physical Damage Coverages; “Loss does not include any reduction in the value of any covered
28
29   vehicle after it has been repaired, as compared to its value before it was damaged.”); and with
30
     id., at 28 (Comprehensive Coverage and Collision Coverage; “The cost to repair the covered
31
32   vehicle does not include any reduction in the value of the covered vehicle after it has been


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1    repaired, as compared to its value before it was damaged.”). Thus, State Farm knows how to
2
     exclude diminished value but has not done so in its coverage for uninsured and underinsured
3
4    motorists in the District of Columbia.
5
               As shown below, District of Columbia law has recognized since 2005 that
6
7
     “compensatory damages” for property damage includes diminution of value. Given its policy

8    language, and lack of an exclusion, State Farm does not dispute coverage for DV and defines it
9
     as “the difference between the market value immediately before the accident and market value
10
11   after the accident and repairs have been made.”2
12
               This case presents a core common issue of whether the market value of vehicles within
13
14   the putative Class is less after repair such that residual diminution in value exists. Plaintiffs
15   have defined the proposed Class to capture the vehicles repaired by State Farm that they believe
16
     common evidence will show have measurable residual diminution in value, even after proper
17
18   repair. Specifically, Plaintiffs define the Class to include only newer (less than 6 years old),
19
     less used (90,000 miles or less) vehicles involved in more serious accidents, as indicated by a
20
21   significant dollar amount ($1000 or more) of certain kinds of damage (body or paint or
22
     frame/structural repairs) which can be detected post repair, versus simple repairs of replicable
23
     non-painted parts, such as lights, chrome bumpers, glass, etc, where the market may not devalue
24
25   the vehicle after repair.
26
               Repair of these types of damage, even to industry standards in auto-body collision
27
28   repair, leaves tangible differences, as the vehicle cannot be restored fully to its pre-loss
29
     condition. The presence of these tangible and identifiable differences, irrespective of repair,
30
31
32
       2
           Deposition Transcript of Nicki Millan as Rule 30(b)(6) Designee [Dkt. 36-3] 26:3-27:4.
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1    reduce the vehicle’s fair market value, a loss recoverable under the State Farm policy, but a loss
2
     that State Farm does not adjust or pay in the usual course.
3
4           As in prior certified cases where the insurer conceded coverage, as State Farm concedes
5
     it here, the questions on the merits involve the following three issues:
6
7
                1. whether market value loss is present of for vehicles in the Class such that
                   it is recoverable under State Farm’s policies UIM PD coverage;
8
9               2. whether the method used by State Farm to determine DV loss, or the
                   proposed regression analysis prepared by Plaintiffs’ expert, Dr. Bernard A.
10
                   Siskin (or other means when the merits are reached) more fairly
11                 compensates members of the proposed Class for their DV losses; and
12
                3. whether State Farm’s policies and practices in addressing DV (or, more
13                 often, not addressing it) violates unfair trade practices laws, here the
14                 District of Columbia Unfair Claims Settlement Practices statute, D.C.
                   Code Ann. § 31-2231.17 (West), or the regulations issued pursuant to the
15                 statute, P&C CLAIMS SETTLEMENT - DC, Reg. Guid. DC CLAIMS
16                 SETTLEMENT - P&C (Feb. 26, 2015).
17          The Court can better address these questions in a class action context. A single
18
     determination of numerous Class claims based on common evidence and on the common DV
19
     claims adjustment practices of State Farm during the class period will be more efficient than
20
21   numerous individual actions and will promote uniformity in decisions. Moreover, the small
22   dollar amount of each claim makes adjudication on a claim by claim basis impractical and, by
23   comparison, a class action more manageable.
24
25                                III. STATEMENT OF FACTS
26
            Plaintiffs’ claim is typical of those of other class members. The Court may decide their
27
28   claim—like all claims in the proposed Class—based on the common claims adjustment
29   practices of State Farm and on a common body of evidence of diminished value loss.
30
31
32


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1              A. Plaintiffs’ Claim is Typical of Class Claims
2
            Plaintiffs are typical members of the proposed class. They bought a State Farm
3
4    automotive policy, paid premiums, and made a claim for loss when their insured automobile
5
     was damaged in an accident. They filed a claim and made their vehicle available to State Farm
6
7
     for determination and payment of their loss, if it wished to do so. State Farm then failed to

8    adjust the loss to include diminished value. In sum, although Plaintiffs took the appropriate
9
     measures to receive compensation from State Farm for the damages they incurred, State Farm
10
11   failed to pay Plaintiffs diminution of value damages. Plaintiffs’ interests in receiving such
12
     payment are identical to those of other, unnamed members of the proposed class.
13
14          More specifically, on August 9, 2015, an uninsured vehicle struck Plaintiffs’ vehicle at
15   the corner of Half Street SE and M Street SE in the District of Columbia. State Farm’s Auto
16
     Claim File Print (Claim File) [Dkt. 36-4] at SF(Lavelle)000054. The responding police officer
17
18   found the uninsured driver at fault and cited him for traffic violations and for operating a
19
     vehicle without insurance, among other violations. Id., at SF(Lavelle)000055; Metropolitan
20
21   Police Department, Washington, DC, Traffic Crash Report [Dkt. 36-5] at 8 (“Crash Report”).
22
            When Plaintiffs presented their vehicle to have their loss adjusted and paid, State Farm
23
     determined that Plaintiffs’ insured vehicle was a 2014 Audi A6 (“the vehicle”), Claim File [Dkt.
24
25   36-4] SF(Lavelle)000059, with 18,228 miles on it the day of the accident. Id. SF(Lavelle)
26
     000061. State Farm records also show that the vehicle sustained damage to the driver’s side and
27
28   front, the front bumper and the passenger front. Id. SF(Lavelle)000062. The Claims file also
29
     notes damage to the rear bumper of the vehicle. Id. Per the Claims File, total repair costs – as
30
31
     shown by the final repair estimate, including supplements exceeded $21,000. Id.

32   SF(Lavelle)000096. State Farm records also show how it assessed the percentage liability of

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1    each participant in the accident. Id. SF(Lavelle) 000093-0000094 (showing Lavenia Lavelle and
2
     other participants 0% liable and Marcell Jones 100% liable).
3
4           Absent from the Claims File, however, is any evidence that State Farm notified
5
     Plaintiffs about coverage for DV losses or otherwise adjusted their loss or offered to
6
7
     compensate them fairly and adequately for the diminution of value damages they suffered.

8    Accordingly, Plaintiffs bring this suit to obtain proper relief for themselves and for others
9
     similarly situated and the general public.
10
11          Plaintiffs allege that Defendant’s failure to pay for this type of loss under its District of
12
     Columbia insurance policy’s UIM coverage breached its standard contract with its policy-
13
14   holders and members of the Class by failing to pay a recoverable loss. This failure to pay also
15   violated the DCCPPA because thereby State Farm engaged in an unlawful trade practice. See
16
     D.C. Code Ann. § 28-3904. Finally, State Farm’s uniform practice of not paying for DV under
17
18   UIM PD claims breached the Implied Covenant of Good Faith and Fair Dealing implicit in its
19
     standard insurance contract.
20
21             B. State Farm’s Common Diminished Value Practices
22
            State Farm has a common claims adjustment practice on diminished value cases.
23
     Indeed, its DV adjustment practices are uniform nationwide. Unlike some insurers who use
24
25   third party repair estimates,
26
27
28                                                . Deposition Transcript of John Gallup as Rule
29
     30(b)(6) Designee [Dkt. 36-6] 18:24-19:6.
30
31
32                                             Id. 25:25-26:6; 28:6-29:22; 31:12-18.

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1
2
3
4
5
                    . Id. 36:22-38:6; 38:7-39:4; 40:4-43:18.
6
7
                                                     Id. 44:9-14.

8           These uniform sources of damage data and vehicle characteristics allow the parties to
9
     identify Class members from the claims data State Farm has collected during the Class period.
10
11   See Declaration of Bernard R. Siskin [Dkt. 36-7] ¶¶ 5, 8-9.
12
            Further, as with Plaintiffs’ claim as shown above, on every UIM PD claim,
13
14
15                 Deposition Transcript of Nicki Millan as Rule 30(b)(6) Designee [Dkt. 36-3] 66:10-
16
     70:2. State Farm uses these determinations                                   Id. 67:19-22.
17
18   Accordingly, no individual determinations of fault and comparative fault will be necessary to
19
     deliver a Class remedy in this case, because State Farm has already made these determinations
20
21   and documented them in its Claims Files.
22
            Discovery in Jenkins revealed that, since 2010, whenever a UIM PD claim was opened in
23
     Washington,
24
25                                                         . Millan Dep. [Dkt. 36-3] 18:1-20; Millan
26
     Dep. Ex. 11. Plaintiffs have located no similar notice in the District of Columbia materials
27
28   produced by State Farm. Thus, Plaintiffs doubt that State Farm takes any effort to inform its
29
     insureds about DV coverage in the District of Columbia; certainly no evidence of any similar
30
31
     disclosure has been produced.

32


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1              When presented with a UIM PD DV claim by the few insureds who know from a source
2
     other than State Farm of the ability to make a DV claim,
3
4                                                                        Instead, if it does an
5
     inspection,
6
7
8                                  Millan Dep. at 36:4-46:14. As to DV, State Farm will
9
10
11                                                        . Id. at 42:22-43:22. However, State Farm
12
     does not
13
14                             .” Id. 64:6-65:11.
15             Nor does State Farm provide
16
17
18                                    Id. 33:10-34:1. 4 State Farm tells its adjusters that
19
20
      3
21
22
23
24    4
          State Farm’s process can be summarized, as follows:
25
26
27
28
29
30
31
     Millan Dep. [Dkt. 36-3] 43:7-22. The process applied by State Farm in the District of Columbia
32   is no different, other than no disclosure being made via a Word Track.

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1
2
                                     Millan Dep. [Dkt. 36-3] Ex. 12. However, such information is not
3
4    shared with the insured, because State Farm does not want to
5
                                             . Id. 48:15-49:9.
6
7
             Thus, State Farm does not

8                            Id.37:1-38:13; Gallop Dep. [Dkt. 36-6] 15:1-16:12. If no additional
9
     claim of damages for improper repairs is made,
10
11
12
             . Milan Dep. 37:1:-38:13; Gallop Dep. 21:8-22:14; 23:8-18; 35:11-20; 48:20-49:1; 51:16-
13
14   24; 57:18-21; 59:3-22. The repair estimate (and any submission by the insured) allows State
15   Farm to determine DV, if it is pressed to so do.
16
             Although State Farm’s position is that
17
                                                          5
18                                                            State Farm admits
19
                                 Milan Dep. [Dkt. 36-3] 34:19-35:10. Accordingly, the 2011 version of
20
21   State Farm’s national claims manual contains a diminished value section directing adjusters to
22
     “
23
                                                                                                                 . Id.
24
25   35:11-36:3; 44:9-13; LAVELLEEVNA00000005PROD [Dkt. 36-8]. State Farm acknowledges,
26
27
28
         A common – and illogical – refrain has been that whether a vehicle is “properly repaired”
         5
29
     must be first determined, making certification impossible. Yet, since a projected market value is
30   at issue, whether the vehicle is properly repaired, or repaired at all, is utterly irrelevant. As State
31
     Farm’s 30(b)(6) designee admitted:

32                                                                                Millan Dep. [Dkt. 36-3]
     38:8-13.
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1    as Plaintiffs’ proposed damage model assumes (based upon a regression analysis of vehicle sale
2
     prices at auto auctions), that
3
4                                                                                                      . Finally,
5
     there is no need for the loss                                  .6
6
7
               As shown below, the factors uniformly considered by State Farm to determine DV mirror

8    in many respects the proposed Class definition in this case. Millan Dep. at 40:10-17. These
9
     factors include the age of the vehicle at the time of the accident, its pre-loss and post-loss fair
10
11   market value, and mileage. Id. Additionally, State Farm looks at the market value of the vehicle
12
     after it was repaired, while assuming that it was repaired correctly. Compare Siskin Decl. [Dkt.
13
14   36-7] at 9 with Millan Dep. [Dkt. 36-3] 45:8-46:8; Millan Dep. Ex. 15, at 35-38 (“Proof of
15   Claim” and “Burden of Proof” slides).
16
17               C. Common Evidence That DV Exists on Certain Repaired Vehicles.
18
               Intuitively, everyone knows that a damaged vehicle, even after repairs, commands a
19
20   lower fair market sales price than the same vehicle that has not suffered damage. Beyond
21
     intuition, diminished value arises because knowledgeable buyers through an inspection can find
22
23   repaired accident damage and because uniform, objective, and tangible reasons exist justifying a
24
     decrease in market value due to the high risks presented by a repaired vehicle. Through common
25
26
     proof, the Court may determine diminished value loss on a class wide basis and for each Class

27   vehicle. State Farm admits as much.
28
29
30
31
       6
           “
                                                               LAVELLEEVNA00000006PROD [Dkt.
32
     36-8].

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1           First, Mr. John Gallup, State Farm’s in-house expert and Rule 30(b)(6) designee, testified
2
     in his Rule 30(b)(6) deposition in the Jenkins case that
3
4              Auto resellers do exactly what he does with a vehicle:
5
                                                                          Gallup Dep. [Dkt. 36-6] 55:3-
6
7
     7.7 Mr. Gallup further admitted that

8                 , id. 57:22-58:1, and that
9
                                                         .” Id. 51:2-3. Put simply, a repainted car is
10
11   demonstrably and identifiably different, making the fact of a prior accident manifest to
12
     knowledgeable buyers.
13
14          State Farm’s body shop expert in Jenkins, Mr. Mike West, was even more forthcoming.
15   He testified that
16
                                               . Deposition Transcript of Mike West [Dkt. 36-10]18:20-
17
18   19:19. More critically, testifying about a vehicle’s structure, Mr. West stated that if it
19
20
21
22
23
                                                                                                                .”
24
25   Id. 23:13-24. Obviously, the diminished functionality of repaired vehicles is critical. As Mr.
26
     West testified:
27
28
29    7
        Other DV defendants, including GEICO in McGraw v. GEICO, No. 15-2-07829-7 (W.D.
30   Wash.), have advanced experts who agree that areas of repair are obvious to the trained eye. As
31
     GEICO’s expert, Dr. Scheffman, testified, his research of industry sources showed that body
     shops and buyers of used vehicles can quickly find the areas of repair in an inspection due to post-
32   repair differences. Deposition Transcript of David Scheffman [Dkt. 36-9] at 9:12-10:4, 18:5-21,
     49:13-23.
     PLAINTIFFS’ MOTION FOR                                            Law Offices of STEPHEN M. HANSEN, P.S.
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1           Q So anybody buying a car out in the market, if that car with a frame or structural
2           repair, if it wasn’t done exactly to manufacturer's specifications and if it isn’t put
            exactly back into manufacturer’s dimensional tolerances, and if there's been some
3           failure to do that, you’d say that would be a safety issue?
4           A It definitely could be.
            Q (By Mr. Nealey) And a safety issue that could result in injury or death, right?
5
            A It could.
6
7
     Id. 48:17-49:2 (objections omitted).

8           Yet, as Mr. West admitted,
9
10
11
                                                                   . West Dep. [Dkt. 36-10] 32:16-
12
13   33:4, 43:14-44:1, 50:19-54:2. As Mr. West explained,
14
15
16
17
18
19
20
21
22
23
24
25                                                                    and they kind of go, ehh?
26          A Exactly.
27
     Id. 53:24-54:12, 55:9- 55:14 (objection omitted). As Mr. West testified, the response to
28
29
     damaged vehicles was                           Id. 49:9-10.

30          Similar testimony obtained by Plaintiffs’ Counsel in prior cases can be presented on the
31
     merits in this matter. For example, Darrell M. Harber has over 25 years of experience in auto
32


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1    body repair, auto physical damage adjusting, and appraising vehicles. Declaration of Darrell M.
2
     Harber ¶¶ 1-4 [Dkt. 36-11]. As Mr. Harber and similar experts can testify on the merits:
3
4              [Diminished value loss] flows from the fact that when certain vehicles (those that
               are newer and have less mileage) have certain types of damage (frame/structure and
5
               paint/body) those damages can be seen and identified even after repair. As such a
6              repair shop can’t fully restore these types of vehicles to their pre-loss condition.
7
               Instead, market demand and market value goes down for that vehicle even if a
               repair shop does the best possible job fixing it.
8
9    Id. ¶6.
10
               The repair processes used in collision repair are technologically different than auto
11
     manufacturing processes and have economic limits. The result is that accident repairs yield
12
13   vehicles which are identifiably and objectively different and inferior to the vehicles’ pre-loss
14
     condition. Id. ¶¶ 8-10. As Mr. Harber notes, for vehicles within the Class definition, and on the
15
16   proposed Class Representatives’ car, the extent and presence of collision body and paint repair
17
     will be easily detectible and would be visually apparent to a knowledgeable buyer, reducing the
18
     vehicles’ value. Id. ¶¶ 11-13. As Mr. Harber can show:
19
20             vehicles that fall within the proposed Class criteria above, are tangibly and identifiably
21
               different than they were in their pre-accident condition. Moreover, vehicles that fall
               within the Class will all have damage repair which can be, and is, identified by
22             knowledgeable buyers and sellers, and as such will have diminished value.
23
     Id. ¶ 17.
24
25             Second, experts like, Angelo Toglia, Jr. P.E., a licensed professional engineer with
26   extensive experience in automotive-related issues, can testify about the uniform, objective, and
27
     tangible reasons for the decrease in market value on a damaged vehicle, as follows:
28
29             [W]ithin a reasonable degree of engineering certainty, there exist qualitative
30
               differences in a vehicle after an accident and subsequent repair, compared to the pre-
               accident condition of the vehicle. These differences are a result of the loosening and/or
31             shifting of parts (causing vibration, rattles, and other anomalies), changes in metal
32
               material properties, and undetectable (in the sense of it being impractical and infeasible
               to detect in collision repair) induced damage which results in collisions. During an

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1            accident of the type described in the Complaint, and of the type which I understand the
2
             repair of the involved vehicle will be detectable to knowledgeable buyers, part of the
             energy of the collision is transmitted through the vehicle. This energy transmission
3            creates internal force flow through the various vehicle components and is dissipated
4            through the deformation of vehicle components in addition to reaction forces with the
             environment surrounding the vehicle.
5            …
6             By necessity, the material properties of spliced and/or straightened components
              deviate from the state prior to an accident due to changes in the properties of the
7
              materials.
8
9
     Report of Angelo Toglia [Dkt. 36-12] ¶¶14-16.

10           Thus, common intuitive, visual, documentary, and expert proof explaining diminution of
11
     value can be presented for all vehicles which fall within the proposed Class.
12
13
                                           IV. ARGUMENT
14
15           Diminished value loss is recognized for automobile damage in the District of Columbia.
16
     Because insurers have avoided payment of this loss, a large number of viable unpaid claims
17
18
     exist in the District of Columbia under State Farm’s UIM PD coverage for which class

19   certification provides an economic and just remedy. Other jurisdictions have certified classes
20
     seeking recovery of DV under UIM PD policies. For the same reasons advanced in those cases,
21
22   Plaintiffs ask the Court to certify this action for class treatment.
23
24           A.      Diminished Value Loss is Recognized for Automobiles in the
25
                     District of Columbia.

26           As noted twelve years ago by the District of Columbia Court of Appeals, “[u]ntil now,
27   we have not been presented with the argument that, despite ‘full repair,’ there should be further
28
     compensation when repair alone does not restore injured property (here, an automobile) to its
29
     pre-injury value.” Am. Serv. Ctr. Associates v. Helton, 867 A.2d 235, 239 (D.C. 2005).
30
31           Our jurisprudence concerning the measure of damages for injury to an automobile
             thus has had a de facto focus on the reasonable cost of repair. There is no dispute
32           in this case about the proof or reasonableness of the cost of the Mercedes’s repair

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1           because Avis’s insurance carrier remitted payment for that purpose to the apparent
2           satisfaction of all the parties before this action was instituted in the Small Claims
            and Conciliation Branch. Rather, the present controversy is whether the pre-
3           litigation payment of the reasonable cost of repair extinguished ASCA’s damages
4           claim for residual diminution in worth as a matter of law.
5    Helton, 867 A.2d at 240 (citations omitted). The appellate court ruled that repairs do not
6
     extinguish diminished value loss “when it can be shown that repair is insufficient to restore the
7
8    property to its value before the injury.” Id. at 241. “[R]esidual diminution in value does not
9
     duplicate the cost of repair because it is calculated based on a comparison of the value of the
10
11   property before the injury and after repairs are made, i.e., excluding injury compensated by
12
     damages for the cost of repair.” Id. at 242.
13
14
            The appellate court noted that its “conclusion is overwhelmingly supported by decisions

15   in other jurisdictions that have considered the issue—including neighboring Maryland and
16
     Virginia—which allow recovery for the cost of repair made plus the residual diminution in value.
17
18   A long pedigree of influential commentary also supports this position.” Id. at 243–44 (citations
19
     omitted).
20
21          B.      Class Certification is Appropriate on Auto Insurance DV Claims
                    Generally as Developed under Washington Jurisprudence.
22
23          Similarly, courts who have considered the issue, and have developed extensive
24
     experience with these issues, have found class treatment proper for DV actions. The state and
25
26
     federal courts of Washington have considered diminished value loss in the context of

27   automobile insurance and have certified class actions for diminished value claims. Plaintiffs
28
     urge this Court to adopt the reasoning of the Washington courts, which is well-supported by
29
30   the evidence developed and now presented to this Court, showing how such a case is
31
     manageable using common evidence of loss in market value.
32
            Washington courts have repeatedly certified DV classes. In Laughlin v. Allstate, the
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1    Washington Court of Appeals affirmed class certification in an uninsured motorist case in an
2
     unpublished order under Washington’s rule 23, which is materially identical to the federal rule
3
4    23.8
5
            “Focusing on commonality and predominance, [the Laughlin trial court] determined that
6
7
     each class member’s claim involved ‘a common nucleus of operative facts.’ After a three-day

8    hearing during which it considered extensive briefing and argument, it further determined that it
9
     could properly handle any factual or legal differences….” Laughlin v. Allstate Ins. Co., 130
10
11   Wash. App. 1018 (2005) (citation omitted).
12
            Subsequently in the Moeller case, the Washington Court of Appeals affirmed a
13
     certification decision in a DV case. Moeller v. Farmers Ins. Co. of Washington, 155
14
15   Wash.App. 133, 229 P.3d 857 (2010). The Washington Supreme Court thereafter affirmed that
16   decision. Moeller vs. Farmers Ins. Co. of Washington, 173 Wash .2d 264, 267 P.3d 998 (2011)
17   (en banc). The same class definition proposed in this case is identical to that used in Moeller.
18
            The Moeller trial court decided that “the only conceivable method to adjudicate or
19
     resolve this case is through a class action, as the de minimus size of individual claims would
20
21   leave policyholders without practical recourse, absent class treatment, to address the contract
22   construction (legal) and damages (fact) issues.” Moeller, 155 Wash. App. at 149, 229 P.3d at
23   865. Additionally, “[t]the trial court identified the common nucleus of operative facts, namely,
24
     that class members shared the same insurance policy, potentially suffered damage, and were
25
     allegedly harmed by [the insurer’s] course of conduct.” Id.
26
27          The Moeller court also concluded that the damage model developed by Plaintiffs’
28   expert, Dr. Bernard A. Siskin, was admissible to show class-wide injury and aggregate
29
30
31    8
        See Schnall v. AT & T Wireless Servs., Inc., 171 Wn.2d 260, 271, 259 P.3d 129, 134 (2011)
32   (“CR 23 is identical to its federal counterpart”) (citing Schwendeman v. USAA Cas. Ins. Co., 116
     Wash.App. 9, 19 n. 24, 65 P.3d 1 (2003)).
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1    damages. Moeller, 173 Wash.2d at 280, 267 P.3d at 1005. The model also could facilitate the
2
     distribution of any class wide recovery post-judgment.
3
4           More recently, a Washington state trial court certified a diminished value class action on
5
     March 27, 2014, in Mansker v. Farmers, No. 11-2-0668-7 (Wash. Sup. Ct 2011) (Order
6
7
     attached) [Dkt. 36-13]. Mansker involved certain insureds with UIM PD claims from 2004 to

8    2014. In certifying the Mansker class, the trial court found that the plaintiff there had “offered
9
     myriad types of evidence showing he can prove, using classwide proof, that vehicles suffered
10
11   irreparable damage of the type the Moeller Courts found warrant recovery of DV loss.”
12
            The Mansker court also noted that “nearly identical classes, based on similar, if not the
13
14   same, evidence have previously been certified in this state as class actions for litigation and
15   settlement purposes.” Id.
16
            Since Mansker, Washington courts have certified diminished value classes for litigation
17
18   purposes in the following state and federal cases:
19
                •   Merrill v. PEMCO Mut. Ins. Co., No. 13-2-13764-5 (Wash. Sup. Ct Sept. 23,
20                  2015) (order granting class certification) [Dkt. 36-14].
21
                •   Meyers v. Am. Family Mut. Ins., No. 3:14-cv-05305-RBL (WD Wash. Sept 2,
22
                    2015) (order granting class certification) [Dkt. 36-15].
23
24              •   Snyder v. Farmers Ins. Co. of Washington, No. 13-2-15638-15 (Wash. Sup. Ct
                    Dec. 2, 2016) (order granting class certification) [Dkt. 36-16].
25
26
            As Judge Ronald B. Leighton noted in certifying a Class defined identically to that
27
28   before this Court, based upon a similar showing of expert proof: “The alternative method of
29   resolution available here is adjudication of individual claims for a small amount of damages,
30
     which would present a hardship to the class members. Given the desirability of concentrating
31
32


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1    these identical claims, class action is the superior method of adjudication.” Meyer v. Am. Fam,
2
     No. 14-cv-05305-RBL (Sept 2, 2015).9
3
4           C.      Certification of the Lavelles’ Proposed Class is Appropriate.
5
            The jurisprudence of the District of Columbia supports certification of the proposed class
6
7
     before the Court.

8
9
10   9
      To the contrary of every recent case, Judge Benjamin Settle denied class certification in
11   Achziger v. IDS Prop. Cas. Ins. Co., C14-5445 BHS, 2016 WL 1276048, at *1 (W.D. Wash.
     Apr. 1, 2016). Whether Achziger was decided correctly (it is currently being appealed to the 9th
12
     Circuit), its ruling is inapposite here for several reasons.
13
14   First, the Lavelles’ proposed class does not concern “different insurance policies, coverage
     provisions, and claims handling procedures,” the basis on which Judge Settle found typicality
15   lacking. The Lavelles propose a class of only UIM PD insureds. By contrast, Mr. Achziger
16   sought to represent a class of insureds with UIM PD, collision and comprehensive insurance,
     arguing his UIM PD claim was “reasonably co-extensive” with those of absent class members
17
     with collision or comprehensive coverage. Indeed, the evidence was that the DV practices of
18   insurer IDS did not vary by coverage. Regardless, Judge Settle’s typicality concern that Mr.
19
     Achziger “seeks to represent a class of insureds who have different IDS policies than him,” does
     not exist here.
20
21   Next, Achziger found Mr. Achziger’s claim to be atypical on the grounds that class members
     were allegedly not impacted by the same course of conduct. Achziger, Dkt91. at 8. The evidence
22
     at bar is that State Farm’s DV claims handling procedures have not changed during the class
23   period on DV claims. See State Farm DV claims management materials for 2011, and 2014
     (LAVELLEEVNA00000004PROD- LAVELLEEVNA00000008PROD) [Dkt. 38-8]. Plaintiffs
24
     further noted that the “change” that concerned Judge Settle in Achziger was that IDS had
25   abandoned its pre-Moeller policy of denying DV claims outright in Washington in favor post-
26   Moeller of adjusting DV claims using the common Georgia DV formula, which it applied
     uniformly to all three coverages to underestimate DV losses. Whether or not this “change” is the
27   kind that destroys typicality (an issue being appealed), it simply does not exist in the Lavelles’
28   claim.
29
     Finally, the Achziger Court held that individual inquiries must be made to determine which
30   insureds are members of the class, whether class members were entitled to UIM coverage, and
31
     whether class member’s vehicles were involved in a previous accident. (Achziger, Dkt 91 at 9 fn
     4, 10). Here as noted above State Farm has already made these determinations and recorded its
32   findings in the claims file, determinations which – having been used to settle earlier parts of the
     claim within the duty of good faith – are binding on State Farm.
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1                1. The Proposed Class Satisfies Rule 23.
2
             Class certification is a preliminary question that is distinct from the merits of the case.
3
4    Eisen v. Carlisle and Jacquelin, 417 U.S. 156, 178 (1974). In deciding whether to certify a class
5
     action, the question before the court is not whether the “plaintiffs have stated a cause of action or
6
7
     will prevail on the merits, but rather whether the requirements of Rule 23 are met.” Id. (internal

8    quotations omitted). “[A]n evaluation of the probable outcome on the merits is not properly part
9
     of the certification decision.” Amgen Inc. v. Connecticut Ret. Plans & Tr. Funds, 568 U.S. 455,
10
11   466 (2013). The court may, however, consider matters beyond the pleadings to ascertain whether
12
     the claims or defenses are susceptible to resolution on a class-wide basis. McCarthy v.
13
14   Kleindienst, 741 F.2d 1406, 1413 n. 8 (D.C.Cir.1984). The court has broad discretion in deciding
15   whether plaintiffs have met their burden of showing that the requirements for class certification
16
     are met. Hartman v. Duffey, 19 F.3d 1459, 1471 (D.C.Cir.1994). See Jones v. Rossides, 256
17
18   F.R.D. 274, 276 (D.D.C. 2009).
19
                 2. The Proposed Class is Definite and Ascertainable.
20
21           Courts have imposed “definiteness” as an “implied requirement” for class certification
22
     in addition to the express requirements in Rule 23. See DL v. District of Columbia, 302 F.R.D.
23
     1, 16 (D.D.C.2013) (“Definiteness is not mandated by Rule 23 but is a judicial creation
24
25   requiring that the class be (1) adequately defined; and (2) clearly ascertainable” (internal
26
     quotations omitted)). The “common-sense requirement” that plaintiffs “establish that a class
27
28   exists” is “not designed to be a particularly stringent test,” but rather requires plaintiffs to “be
29
     able to establish [that] ‘the general outlines of the membership of the class are determinable at
30
31
     the outset of the litigation.’ ” See Pigford v. Glickman, 182 F.R.D. 341, 346 (D.D.C.1998)

32   (quoting 7A Charles Alan Wright, et al., Federal Practice & Procedure § 1760 (3d ed.)). “The

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1    level of precision ... required varies depending on the type of class sought to be certified” under
2
     Rule 23(b). See Kenneth R. v. Hassan, 293 F.R.D. 254, 263–64 (D.N.H.2013); William B.
3
4    Rubenstein, Newberg on Class Actions § 3:7 (5th ed.).” The identity of class members should be
5
     “readily ascertainable” with reference to “objective criteria.” See Thorpe v. Dist. of Columbia,
6
7
     303 F.R.D. 120, 139 (D.D.C. 2014). However, if such criteria are not available, an “adequate

8    proxy” may be used to “accurately articulate the general demarcations” of the class of
9
     individuals who are being harmed. Id. (quoting Kenneth R. v. Hassan, 293 F.R.D. at 264)
10
11   (internal quotes omitted).
12
             Here, as State Farm witnesses have testified and as the documentary evidence shows, the
13
14   information necessary to identify Class Members is available from State Farm’s computerized
15   repair estimates and records of policyholder claims. The proposed Class definition is
16
     “sufficiently definite,” as the members of the Class can be identified by examining State Farm’s
17
18   electronic records, the access to which may be court-ordered. See Oppenheimer Fund, Inc. v.
19
     Sanders, 437 U.S. 340, 355 (1978) (“Rule 23(d) also authorizes a district court in appropriate
20
21   circumstances to require a defendant’s cooperation in identifying the class members to whom
22
     notice must be sent.”).
23
             As in Moeller, Plaintiffs have hired a statistician to determine Class Member damages
24
25   on a class-wide basis and how to distribute those damages individually if a recovery is made.
26
     That statistician, Dr. Bernard A. Siskin, has also looked at the issue of “ascertainability.” As he
27
28   notes in his declaration in this case, as in prior cases, a the parties can generate a class list via
29
     computer query and, using statistical sampling of class claims, can create a damage model with
30
31
     a formula that can then be applied on a claim by claim basis in a distribution phase. Siskin Decl.

32   [Dkt. 36-7] ¶8.

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1           In any event, while it can be done in this case, class certification does not require that
2
     every individual who could possibly fall into the Class be capable of identification. Joseph v.
3
4    General Motors Corp., 109 F.R.D. 635, 639 (D. Colo. 1986). Even if the review necessary to
5
     conclusively identify members of the Class must be done claim by claim, that fact does not
6
7
     defeat the ascertainability. Dunnigan v. Metropolitan Life Ins. Co., 214 F.R.D. 125, 136

8    (S.D.N.Y. 2003) (“Even if MetLife is unable to run the database on the older statistical
9
     information, the class can be identified through an examination of the individual files of each of
10
11   the participants. The fact that this manual process may be slow and burdensome cannot defeat
12
     the ascertainability requirement.”)
13
14              3. The Proposed Class Satisfies Rule 23(a).
15          The class action is “an exception to the usual rule that litigation is conducted by and on
16
     behalf of the individual named parties only.” Califano v. Yamasaki, 442 U.S. 682, 700–701
17
18   (1979). To justify a departure from that rule, “a class representative must be part of the class and
19
     ‘possess the same interest and suffer the same injury’ as the class members.” East Tex. Motor
20
21   Freight System, Inc. v. Rodriguez, 431 U.S. 395, 403 (1977) (quoting Schlesinger v. Reservists
22
     Comm. to Stop the War, 418 U.S. 208, 216 (1974)).
23
            Rule 23(a) ensures that the named plaintiffs are proper representatives of the class whose
24
25   claims they wish to litigate. The Rule’s four requirements—numerosity, commonality, typicality,
26
     and adequate representation—“effectively ‘limit the class claims to those fairly encompassed by
27
28   the named plaintiff's claims.’ ” General Telephone Co. of Southwest v. Falcon, 457 U.S. 147,
29
     156 (1982) (quoting General Telephone Co. of Northwest v. EEOC, 446 U.S. 318, 330 (1980)).
30
31
     See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348–49 (2011). The class proposed by the

32   Lavelles satisfies each element of the rule.

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1                   a. Numerosity is Satisfied.
2
            Because of the general rule in favor of confining litigation to the named parties only, a
3
4    class action is appropriate only when “the class is so numerous that joinder of all members is
5
     impracticable.” Fed. R. Civ. P. 23(a)(1). Although called the “numerosity” requirement, “the
6
7
     Rule’s core requirement is that joinder be impracticable” and numerosity merely “provides an

8    obvious situation in which joinder may be impracticable.” Newberg on Class Actions § 3:11 (5th
9
     ed. 2014). “Nor does the requirement give hard rules for when joinder will be found to be
10
11   impracticable; rather, it “requires examination of the specific facts of each case and imposes no
12
     absolute limitations.” Gen. Tel. Co., 446 U.S. at 330; see also Taylor v. D.C. Water & Sewer
13
14   Auth., 241 F.R.D. 33, 37 (D.D.C.2007) (there is no “specific threshold that must be surpassed”).
15          Despite this flexible standard, courts have developed helpful rules of thumb for assessing
16
     the approximate thresholds at which joinder becomes presumptively impracticable. Absent
17
18   unique circumstances, “numerosity is satisfied when a proposed class has at least forty
19
     members.” Richardson v. L'Oreal USA, Inc., 991 F.Supp.2d 181, 196 (D.D.C.2013); see also
20
21   Alvarez v. Keystone Plus Construction Corp., 303 F.R.D. 152, 160 (D.D.C.2014). Arguably, “as
22
     few as 25–30 class members should raise a presumption that joinder would be impracticable.”
23
     EEOC v. Printing Indus. of Metropolitan Washington, 92 F.R.D. 51, 53 (D.D.C.1981). In
24
25   assessing the number of potential class members, the Court need only find an approximation of
26
     the size of the class, not “an exact number of putative class members.” Pigford v. Glickman, 182
27
28   F.R.D. 341, 347 (D.D.C.1998).
29
            Here, because there are around 323 putative class members by Plaintiffs’ estimate,
30
31
     Complaint ¶14 [Dkt. 1-1], and a much larger number per State Farm’s estimate (1,171) (see State

32


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1    Farm’s Opposition to Motion to Remand [Dkt. 17] at 7), the proposed Class is without a doubt
2
     sufficiently numerous.
3
4                      b. Commonality is Satisfied
5
             The second inquiry for the Court under Rule 23(a) is whether questions of law or fact
6
7
     common to the class prior to certification. See Rule 23(a)(2). But all questions of fact and law

8    need not be common; “a single common issue is sufficient to meet the commonality
9
     requirement.” Walsh v. Ford Motor Co., 130 F.R.D. 260, 268 (D.D.C. 1990) (Commonality
10
11   “may be met where, as here, the claims of every class member are based on a common legal
12
     theory, even though the factual circumstances differ for each member.”) (citing Joseph, 109
13
14   F.R.D. at 640).
15           Commonality requires the plaintiff to demonstrate that the class members “have suffered
16
     the same injury,” Falcon, 457 U.S. at 157. “This does not mean merely that they have all
17
18   suffered a violation of the same provision of law.… Their claims must depend upon a common
19
     contention—for example, the assertion of discriminatory bias on the part of the same supervisor.
20
21   That common contention, moreover, must be of such a nature that it is capable of classwide
22
     resolution—which means that determination of its truth or falsity will resolve an issue that is
23
     central to the validity of each one of the claims in one stroke.” Wal-Mart, 564 U.S. at 349–50.
24
25           Form contracts, like the insurance policies at issue here, are uniquely proper for class
26
     treatment. See Parker v. Bank of Am., N.A., 99 F. Supp. 3d 69, 82 (D.D.C. 2015) (citing Sacred
27
28   Heart Health Sys., Inc. v. Humana Military Healthcare Servs., Inc., 601 F.3d 1159, 1171 (11th
29
     Cir.2010) (“It is the form contract, executed under like conditions by all class members, that
30
31
     best facilitates class treatment.”).

32           Moreover, as detailed above, the State Farm DV claims handling practices that Plaintiffs

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1    challenge are uniformly implemented. State Farm applies its diminished value policies
2
     company-wide. These policies—better characterized as diminished value avoidance policies—
3
4    are: (1) non-disclosure and (2) adjusting the loss not to include diminished value. State Farm’s
5
     goal is to prevent its insureds from discovering their right to DV damages and its claims
6
7
     personnel from mentioning or paying DV losses.

8            State Farm’s practices uniformly affected the Plaintiffs and all Class Members. First,
9
     they were told little, if anything, about coverage for diminished value. Second, if they knew
10
11   enough to press a DV claim, State Farm offered Class members a DV settlement using a
12
     uniformly irrational system.
13
14           The Washington Court of Appeals’ decision in Moeller, 155 Wash.App. 133, where
15   common issues of law and fact were found to exist, is directly on point.10 The common issues of
16
     law and fact found in Moeller to justify certification included
17
18               •    “whether the Class Members’ policies covered diminished value;”
19
                 •    “whether each class member’s vehicle suffered reduction in value as a result of
20                    the vehicle having been in an accident without consideration of repair related
21                    diminished value;”
22
                 •    “whether each class member’s vehicle could be returned to pre-accident
23                    condition;” and
24
                 •    whether the insurer “engaged in a common and systematic course of conduct
25
                      designed to process physical damage claims so as to avoid acknowledging or
26                    paying DV claims.” Id. at 149.
27
     Each of these common issues justifies certification in the Lavelles’ case.
28
29
30
31
32   10
      Farmers conceded, and did not raise further, any of the CR23(a) issues on appeal to the Washington Supreme
     Court. Moeller, 267 P.3d at 1005
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1                    c. Typicality is Satisfied.
2
             Rule 23(a)(3) requires a finding that the representative parties’ claims or defenses “are
3
4    typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). The requirement for
5
     “typicality” is satisfied “if each class member’s claim arises from the same course of events that
6
7
     led to the claims of the representative parties and each class member makes similar legal

8    arguments to prove the defendant’s liability.” Trombley v. Nat'l City Bank, 826 F.Supp.2d 179,
9
     192–93 (D.D.C.2011). The facts and claims of each class member do not have to be identical.
10
11   See Daskalea v. Wash. Humane Soc’y, 275 F.R.D. 346, 358 (D.D.C.2011). Instead, courts have
12
     found the “typicality” requirement satisfied when class representatives “suffered injuries in the
13
14   same general fashion as absent class members.” See In re Vitamins Antitrust Litig., 209 F.R.D.
15   251, 260 (D.D.C.2002) (internal quotations omitted). Richardson v. L'Oreal USA, Inc., 991 F.
16
     Supp. 2d 181, 196 (D.D.C. 2013).
17
18           Here, Plaintiffs are typical because, like other Class members, they bought a State Farm
19
     policy with UIM PD coverage, paid their premiums, and made a claim for loss. Complaint ¶¶18-
20
21   19, 21. State Farm accepted coverage, inspected the vehicle and assessed the damages, but failed
22
     to notify the Lavelles of their DV loss coverage. Id. ¶19. Like most Class members who did not
23
     know to demand DV loss coverage, the Lavelles have been denied the benefit of their UIM PD
24
25   coverage. Class members who knew to demand DV loss payments were uniformly paid
26
     amounts based on unscientific and otherwise unsupported methods of calculating DV, if paid
27
28   anything at all for their DV losses.
29
             Like other Class members, the Lavelles are entitled to recover their full DV damages.
30
31
     Trial of their claim will be the same as trial of those other members of the proposed Class, raising

32   the same questions, with the same evidence, and arguing about the best way to calculate their DV


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1    loss. Class certification will allow Class claims usually worth less than $10,000 to be proven in a
2
     way that does not require a $500,000 trial for every claim.
3
4                   d. Adequacy is Satisfied
5           Rule 23(a)(4) requires that “the representative parties will fairly and adequately protect
6
     the interests of the class.” “Two criteria for determining the adequacy of representation are
7
8    generally recognized: 1) the named representative must not have antagonistic or conflicting
9
     interests with the unnamed members of the class, and 2) the representative must appear able to
10
11   vigorously prosecute the interests of the class through qualified counsel.” National Association
12
     of Regional Medical Programs, Inc. v. Mathews, 551 F.2d 340, 345 (D.C.Cir.1976) quoted in
13
     Twelve John Does v. District of Columbia, 117 F.3d 571, 575 (D.C.Cir.1997). Accord: Vista
14
15   Healthplan, Inc. v. Warner Holdings Co. III, Ltd., 246 F.R.D. 349, 358 (D.D.C. 2007). It is
16
     presumed that the interests of the representative plaintiffs do not conflict with those of the Class
17
18   Members, and that counsel is adequate to represent those interests. H. Newberg & A. Conte,
19
     Newberg on Class Actions, §3.05 at 3-25 (3d ed. 1992).
20
21
            Plaintiffs’ counsel have extensive experience in successfully prosecuting class actions,

22   including insurance coverage and diminished value cases. See CVs of proposed Class Counsel
23
     [Dkt. 36-26 to 36-30]. Counsel are qualified and able to prosecute the interests of the class
24
25   vigorously.
26
            Moreover, Plaintiffs will demonstrate that State Farm’s common course of conduct was
27
28   a systematic breach of contract and a violation of District of Columbia law by failing to disclose
29   coverage for diminished value and then for failing to adjust and pay DV claims fairly. There is
30
     no conflict between Plaintiffs and the other Class Members, as the proposed Class
31
32   representatives, the Lavelles, seek the same relief, using the same formula, for State Farm’s

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1    failure to pay diminished value as required by its policy.
2
                 4. The Proposed Class Satisfies Rule 23(b)(3)
3
4             Under Rule 23(b)(3), the Court may certify a Class if it finds that: 1) common questions
5
     of law or fact predominate over any questions affecting only individual members; and 2) a class
6
7
     action is superior to other available methods for the fair and efficient adjudication of the

8    controversy. Here, Plaintiffs seek certification of a District of Columbia-only 23(b)(3) damages
9
     Class.
10
11                   a. Common Questions of Law and Fact Predominate.
12
              The predominance requirement “tests whether proposed classes are sufficiently cohesive
13
14   to warrant adjudication by representation.” Amchem Prods. v. Windsor, 521 U.S. 591, 623
15   (1997). This inquiry is like the commonality inquiry, but “[i]f anything ... is even more
16
     demanding.” Comcast Corp. v. Behrend, 569 U.S. 27, 34 (2013). “[T]he predominance analysis
17
18   logically entails two distinct steps–the characterization step and the weighing step.” Newberg on
19
     Class Actions § 4:50 (5th ed. 2014).
20
21            First, the court must “characterize the issues in the case as common or individual.” Id.
22
     (emphasis omitted). This determination is “primarily based on the nature of the evidence.” Id.
23
     “Evidence is considered ‘common’ to the class if the same evidence can be used to prove an
24
25   element of the cause of action for each member.” Kottaras v. Whole Foods Market, Inc., 281
26
     F.R.D. 16, 22 (D.D.C.2012). By contrast, evidence is individualized when “members of the
27
28   proposed class would need to present evidence that varies from person to person.” Id.
29
              Second, the Court must “compare the issues subject to common proof against the issues
30
     subject solely to individualized proof to assess whether the common issues predominate.”
31
32
     Newberg on Class Actions § 4:50 (5th ed. 2013). This comparison is “a qualitative rather than a


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1    quantitative concept.” Parko v. Shell Oil Co., 739 F.3d 1083, 1085 (7th Cir. 2014). “[T]he
2
     common issues do not have to be shown to be dispositive.” In re Vitamins Antitrust Litig., 209
3
     F.R.D. at 262; see also Amgen Inc. v. Connecticut Ret. Plans & Tr. Funds, 568 U.S. 455, 459
4
     (2013) (“Rule 23(b)(3) requires a showing that questions common to the class predominate, not
5
6    that those questions will be answered, on the merits, in favor of the class.”) (emphasis in
7    original).
8
             At the weighing step, the Court must keep in mind that “common liability issues are
9
10
     typically far more important and contested and the individual damage calculations often

11   formulaic.” Newberg on Class Actions § 4:54 (5th ed. 2014); see also In re Nexium Antitrust
12
     Litig., 777 F.3d 9, 21 (1st Cir.2015) (“Where common questions predominate regarding liability,
13
14   then courts generally find the predominance requirement to be satisfied even if individual
15
     damages issues remain.”) (quotation marks and alteration omitted).
16
17           The D.C. Circuit has agreed “that the mere fact that damage awards will ultimately

18   require individualized fact determinations is insufficient by itself to preclude class certification.”
19
     McCarthy v. Kleindienst, 741 F.2d 1406, 1415 (D.C.Cir.1984); see also Newberg on Class
20
21   Actions § 4:54 (5th ed. 2014) (“courts in every circuit have uniformly held that the 23(b)(3)
22
     predominance requirement is satisfied despite the need to make individualized damage
23
24   determinations”);Leyva v. Medline Indus. Inc., 716 F.3d 510, 513 (9th Cir. 2013)( “In almost
25   every class action, factual determinations of damages to individual class members must be made.
26
     Still we know of no case where this has prevented a court from aiding the class to obtain its just
27
28   restitution. Indeed, to decertify a class on the issue of damages or restitution may well be
29
     effectively to sound the death-knell of the class action device.”); Coleman through Bunn v. Dist.
30
31   of Columbia, 306 F.R.D. 68, 85 (D.D.C. 2015).
32


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1              Common issues unquestionably predominate here. With respect to liability, the
2
     overriding common questions are (1) whether State Farm established a common course of
3
4    conduct was designed to avoid paying DV losses; (2) the fair measure of DV loss and the best
5
     way to obtain calculate it; (3) whether State Farm fairly paid those claims it was presented; and
6
7
     (4) whether State Farm breached its contract, violated consumer protection laws, or violated the

8    duty of good faith and fair dealing in failing to adjust losses to include DV. Since this case
9
     involves the use of form contracts, it is particularly appropriate to use the class action procedure.
10
11   See Parker v. Bank of Am., N.A., 99 F. Supp. 3d 69, 82 (D.D.C. 2015).
12
               Under nearly identical circumstances as exist in this case, the trial and appellate courts
13
14
     in Moeller properly found predominance where it “identified the common nucleus of operative

15   facts, namely, that class members shared the same insurance policy, potentially suffered
16
     damage, and were allegedly harmed by Farmers’ course of conduct.” Moeller, 155 Wash.App.
17
18   at 150.
19
               Although Plaintiff and Class Members’ individual damages may vary, as detailed in Dr.
20
21   Siskin’s Report [Dkt. 36-7], the amount of their individual and aggregate damages can be
22   calculated using available, objective information contained in State Farm’s own electronic
23
     records, combined with information on market clearing sales prices for damaged and repaired
24
25   and undamaged vehicles. Because, as State Farm itself admits, diminished value is a loss in
26
     market value, Dr. Siskin will be able to calculate the amount of diminished value State Farm
27
28   owed those insureds within the Class, both class-wide, and for each individual within the Class.
29
     See Siskin Decl. at ¶¶4-5, 8, 10-11, 13.
30
               Using regression analysis and sampling from the Class vehicles, and building upon his
31
32   work in Moeller, Dr. Siskin will be able, through statistics, to isolate the effect of DV on the

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1    total value of the vehicle. Id. He will be able to determine individual damages for every (or
2
     nearly every) Class Member by applying the results of the regression analysis to the repair
3
4    estimates of the individual class member. Id. at ¶ 13.11
5
            Regression analyses are “common” statistical tools accepted as reliable by the courts. 12
6
7
     EEOC v. Gen. Tel. Co. of Nw., Inc., 885 F.2d 575, 577 n.3 (9th Cir. 1989). See also Reference

8    Manual on Scientific Evidence: Reference Guide on Survey Research (2d. ed.) (Federal
9
     Judicial Center, 2000), at 282. And, courts have long found predominance of common issues
10
11   and certified 23(b)(3) classes, when regression analyses can be used to calculate individual
12
     remedies,13 provided the statistical model purporting to show predominance is sound. See In re
13
14   Rail Freight Fuel Surcharge Antitrust Litig.-MDL No. 1869, 725 F.3d 244 (D.C. Cir. 2013).
15          The Supreme Court recently underscored the important role of statistical evidence in
16
     class cases in the Tyson Foods case, as follows:
17
18
19    11
            “[T]he mere fact that damage awards will ultimately require individualized fact
20   determinations is insufficient by itself to preclude class certification.” McCarthy v. Kleindienst,
21   741 F.2d 1406, 1415 (D.C. Cir. 1984). For example, if there is proof that a collectable car – which
     are not covered by Plaintiffs proposed damage model - was insured by State Farm and fit within
22   the Class (which would require that collectible car that to be less than 6 years old), the vehicle
23   owner could either exclude his or her claim and seek recovery separately, participate receiving
     the amount the damage model would show, or an individual estimate of DV loss could be
24
     presented.
25     12
          See, e.g., Moore v. Health Care Auth., 181 Wn.2d 299, 332 P.3d 461, 466 (2014) (“it is not
26
     unusual, and probably more likely in many types of cases, that aggregate evidence of the defendant's
     liability is more accurate and precise than would be so with individual proofs of loss”) ; Bayshore
27   Ford Truck Sales, Inc. v. Ford Motor Co., 2006 WL 3371690 (D. N.J. Nov. 17, 2006), citing
28   Petruzzi’s IGA Supermarkets v. Darling-Delaware Co., 998 F.2d 1224, 1238 (3d Cir. 1993)
     (“multiple regression analysis[] is reliable”).
29     13
          See, e.g., In re Tableware Antitrust Litig., 241 F.R.D. 644, 652 (N.D. Cal. 2007) (class
30   certification appropriate where plaintiffs’ experts presented a regression analysis stating that “[i]t
     is not necessary that plaintiffs show that their expert’s methods will work with certainty at this
31   time” but “plaintiffs’ burden is to present the court with a likely method for determining class
     damages”) (citations omitted). See also, In re Flat Glass Antitrust Litig., 191 F.R.D. 472, 486
32   (W.D. Pa. 1999) (same); In re Domestic Air Transp. Antitrust Litig., 137 F.R.D. 677, 691-693
     (N.D. Ga. 1991) (same).
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1           Petitioner's reliance on Wal–Mart Stores, Inc. v. Dukes, 564 U.S. 338, 131 S.Ct.
2           2541, 180 L.Ed.2d 374 (2011), is misplaced. Wal–Mart does not stand for the
            broad proposition that a representative sample is an impermissible means of
3           establishing classwide liability.
4               …
            The underlying question in Wal–Mart, as here, was whether the sample at issue
5
            could have been used to establish liability in an individual action. Since the
6           Court held that the employees were not similarly situated, none of them could
7
            have prevailed in an individual suit by relying on depositions detailing the ways
            in which other employees were discriminated against by their particular store
8           managers. …
9
            In contrast, the study here could have been sufficient to sustain a jury finding
10
            as to hours worked if it were introduced in each employee’s individual action.
11          While the experiences of the employees in Wal–Mart bore little relationship to
            one another, in this case each employee worked in the same facility, did similar
12
            work, and was paid under the same policy. As Mt. Clemens confirms, under
13          these circumstances the experiences of a subset of employees can be probative
14          as to the experiences of all of them.
15   Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1048, 194 L. Ed. 2d 124 (2016) (citing
16
     Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680 (1946)).
17
18          Dr. Siskin’s regression model is based on Plaintiffs’ theory of liability and in fact
19
     utilizes the same factors State Farm considers determinative of DV.
20
21          In the Moeller decisions, both the Court of Appeals and Supreme Court of Washington
22   recognized the efficacy of Dr. Siskin’s then proposed (and now completed) model as a tool to
23
     determine class-wide damages and that it was sufficient for the purposes of certification.
24
     Moeller, 173 Wash.2d at 280-81 (plaintiff’s mathematical model appropriate, as it gave no
25
     indication that damages would be proved or awarded before causation is determined); Moeller,
26
27   155 Wash.App. at 150 n. 14 (plaintiff’s preliminary plan on how to gather data on vehicles was
28   appropriate). Plaintiffs believe that a rigorous analysis of Dr. Siskin’s model will cause the Court
29
     to rule similarly, as has every Court to have reviewed Dr. Siskin’s work, work which can be
30
     updated and expanded upon should the merits in this matter be reached.
31
32


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1                   b. Class Treatment is Superior and Manageable.
2
            The second requirement of Rule 23(b)(3) is that the Court find maintenance of the
3
4    present action as a class action will be superior to other available methods of adjudication.
5
     “Rule 23(b)(3) favors class actions where common questions of law or fact permit the court to
6
7
     ‘consolidate otherwise identical actions into a single efficient unit.’ ” Wells v. Allstate Ins. Co.,

8    210 F.R.D. 1, 12 (D.D.C.2002) (quoting Dellums v. Powell, 566 F.2d 167, 189 (D.C.Cir.1977)).
9
     “It has often been observed that class treatment is appropriate in situations such as the present
10
11   case, in which the individual claims of many of the putative class members are so small that it
12
     would not be economically efficient for them to maintain individual suits.” Bynum v. Dist. of
13
14   Columbia, 214 F.R.D. 27, 40 (D.D.C. 2003).
15          The relevant factors included in the rule are: (A) the interest of members of the class in
16
     individually controlling the prosecution or defense of separate actions; (B) the extent and nature
17
18   of any litigation concerning the controversy already commenced by or against members of the
19
     class; (C) the desirability or undesirability of concentrating the litigation of the claims in the
20
21   particular forum; (D) the difficulties likely to be encountered in the management of a class
22
     action. Fed. R. Civ. P. 23(b)(3).
23
            The focus is on “the efficiency and economy elements of the class action so that cases
24
25   allowed under subdivision (b)(3) are those that can be adjudicated most profitably on a
26
     representative basis.” 7A CHARLES ALAN WRIGHT, ARTHUR R. MILLER & MARY KAY
27
28   KANE, Federal Practice and Procedure § 1780 at 562 (2d ed.1986).
29
            Here, the superiority considerations weigh heavily in favor of class certification: Class
30
31
     Members have little interest in pursuing individual actions because of the small amount of DV

32   loss damages. In Moeller, the Court of Appeals noted that because “each claim has a de

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1    minimis value,” individuals “are unlikely to pursue separate actions” and therefore a class action
2
     was preferable. 155 Wash.App. at 150. Moreover, at every level in the Moeller appeal, the
3
4    courts affirmed the trial court’s finding that in a class action, the insurer’s ability to investigate
5
     particular Class Member’s claims and defend against the nature and extent of damages would
6
7
     not be impeded. See Moeller, 173 Wash.2d at 280, 155 Wash.App. at 150 n.15.

8            Plaintiffs are aware of no pending individual actions by Class Members against State
9
     Farm for diminished value. In fact, few of the Class Members even know they are owed
10
11   diminished value because of the success of State Farm’s DV avoidance policies. Indeed, it
12
     would be neither economically feasible, nor efficient, for Class Members to pursue their claims
13
14   on an individual basis. The monetary recovery for most Class Members is relatively small.
15   Coupled with the cost of litigation, this makes vindication of Class Members’ rights extremely
16
     difficult, if not impossible. Allowing insureds to proceed as a Class affords them their only
17
18   chance of recovery.
19
             Finally, this case is manageable as a class action. State Farm admits coverage.
20
21   Plaintiffs will prove liability through common evidence of State Farm’s uniform insurance
22
     forms and uniform diminished value avoidance policies, and show that the market value of
23
     vehicles in the Class are reduced due to DV. Damages can be calculated through use of an
24
25   approach like Dr. Siskin’s regression analysis model, without the need for individualized
26
     inquiries to determine Class Members’ entitlement to relief or the amount of the relief. Indeed,
27
28   at its core, the controversy here is binary: Plaintiffs maintain and will prove with common
29
     evidence that Class vehicles cannot be fully restored to pre-loss condition and value; and State
30
31
     Farm’s own 30(b)(6) designees were unable to provide any factual support for State Farm’s

32   factual assertions in adjusting these claims.

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1           Forcing numerous plaintiffs to litigate the practices alleged to breach a common contract
2
     via a common insurance claims policy runs counter to the very purpose of a class action.14
3
4
                                              VI. CONCLUSION
5
            Based on the foregoing, Plaintiffs respectfully asks the Court to GRANT their motion.
6
7
     The Lavelles ask the Court to appoint them to serve as class representatives and to appoint the

8    undersigned counsel as Class Counsel.
9           RESPECTFULLY SUBMITTED this 1st day of December, 2017.
10
11
                                           JACOB M. LEBOWITZ
12
13                                                s/ Jacob M. Lebowitz
                                           By: _________________________________
14
                                                  Jacob M. Lebowitz
15                                                POSEY LEBOWITZ PLLC
16                                                3221 M Street, NW
                                                  Washington, DC 20007
17
                                                  Telephone: (202) 524-0123
18                                                Fax: (202) 810-9009 Email:
19
                                                  jlebowitz@poseylebowitz.com

20                                                 Jonathan Nace
21                                                 NIDEL & NACE, PLLC
                                                   5335 Wisconsin Avenue, NW Suite 440
22                                                 Washington, DC 20015
23                                                 Telephone: (202) 478-9677
                                                   Fax: (301) 963-8135
24
                                                   Email: jon@nidellaw.com
25
26
27    14
          “The policy at the very core of the class action mechanism is to overcome the problem that
28   small recoveries do not provide the incentive for any individual to bring a solo action prosecuting
     his or her rights. A class action solves this problem by aggregating the relatively paltry potential
29
     recoveries into something worth someone’s (usually an attorney's) labor.” AmChem Prod., Inc. v.
30   Windsor, 521 U.S. 591,617 (1997) (quoting Mace v. Van Ru Credit Corp., 109 F. 3d 338, 344
31
     (1997)). See Am. Pipe & Const. Co. v. Utah, 414 U.S. 538, 551 (1974) (Rule 23(b)(3) is designed
     to avoid “the multiplicity of activity” “in those cases where a class action is found ‘superior to
32   other available methods for the fair and efficient adjudication of the controversy.’ ”).

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1                                       Scott P. Nealey
2                                       Law Office of Scott P. Nealey
                                        71 Stevenson Street, Suite 400
3                                       San Francisco, CA 94105
4                                       Telephone: (415) 231-5311
                                        Facsimile: (415) 231-5313
5
                                        snealey@nealeylaw.com
6
                                        Stephen M. Hansen
7
                                        Law Offices of Stephen M. Hansen, P.S.
8                                       1821 Dock Street, Suite 103
9                                       Tacoma, WA 98402
                                        Telephone: (253) 302-5955
10                                      Facsimile: (253) 301-1147
11                                      Email: steve@stephenmhansenlaw.com
12
                                        Charles Clinton Hunter (pro hac vice)
13                                      Reich & Binstock, LLP
14
                                        4265 San Felipe Street, Suite 1000
                                        Houston, TX 77027
15                                      Telephone: (281) 768-4731
16                                      Facsimile: (713) 623-8724
                                        Email: chunter@reichandbinstock.com
17
18                                      ATTORNEYS FOR PLAINTIFFS
19
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21
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     PLAINTIFFS’ MOTION FOR                              Law Offices of STEPHEN M. HANSEN, P.S.
     CLASS CERTIFICATION - 36                                      1821 DOCK STREET, SUITE 103
                                                                     TACOMA WA 98402
                                                             (253) 302-5955; (253) 301-1147 FAX
             Case 1:16-cv-01082-RBW Document 35 Filed 12/01/17 Page 37 of 38



1                                            CERTIFICATE OF SERVICE
2
             The undersigned certifies, under penalty of perjury under the laws Washington, D.C.,
3    that on the 1st day of December, 2017, I electronically transmitted a copy of Plaintiffs’
4    Statement of Points and Authorities in Support of Plaintiffs’ Motion for Class Certification via
     email upon:
5
                         Brittany Michelle Cambre
6
                         EVERSHEDS SUTHERLAND (US) LLP
7                        999 Peachtree Street, NE
                         Atlanta, GA 30309
8
                         404-853-8063
9                        Fax: 404-853-8806
10                       Email: brittanycambre@eversheds-sutherland.com
11                       Gail Lynn Westover
12                       EVERSHEDS SUTHERLAND (US) LLP
                         700 Sixth Street, NW
13
                         Suite 700
14                       Washington, DC 20001-3980
15
                         (202) 383-0353
                         Fax: (202) 637-3593
16                       Email: gailwestover@eversheds-sutherland.com
17
                         Thomas William Curvin
18
                         EVERSHEDS SUTHERLAND (US) LLP
19                       999 Peachtree Street, NE
                         Atlanta, GA 30309
20
                         404-853-8314
21                       Fax: 404-853-8806
22                       Email: tom.curvin@eversheds-sutherland.com
23                       Tracey Katagi Ledbetter
24                       EVERSHEDS SUTHERLAND (US) LLP
                         999 Peachtree Street, NE
25
                         Atlanta, GA 30309
26                       404-853-8123
27
                         Fax: 404-853-8806
                         Email: traceyledbetter@eversheds-sutherland.com
28
29                       Wilson G. Barmeyer
                         EVERSHEDS SUTHERLAND (US) LLP
30
                         700 6th Street, NW
31                       Suite 700
                         Washington, DC 20001
32
                         (202) 383-0824

     PLAINTIFFS’ MOTION FOR                                         Law Offices of STEPHEN M. HANSEN, P.S.
     CLASS CERTIFICATION - 37                                                 1821 DOCK STREET, SUITE 103
                                                                                TACOMA WA 98402
                                                                        (253) 302-5955; (253) 301-1147 FAX
            Case 1:16-cv-01082-RBW Document 35 Filed 12/01/17 Page 38 of 38



1
                       Fax: (202) 637-3593
2                      Email: wilsonbarmeyer@eversheds-sutherland.com
3
     DATED this 1st day of December, 2017, at Washington, D.C.
4
5
6                                                    s/ Charles Clinton Hunter
                                              __________________________________________
7                                             Charles Clinton Hunter
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     PLAINTIFFS’ MOTION FOR                                      Law Offices of STEPHEN M. HANSEN, P.S.
     CLASS CERTIFICATION - 38                                              1821 DOCK STREET, SUITE 103
                                                                             TACOMA WA 98402
                                                                     (253) 302-5955; (253) 301-1147 FAX
